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In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

*********************
KOREY FLOYD,             *
                         *                         No. 13-556V
             Petitioner, *                         Special Master Christian J. Moran
                         *
v.                       *
                         *
SECRETARY OF HEALTH      *                         Filed: May 2, 2016
AND HUMAN SERVICES,      *
                         *
             Respondent. *
*********************

Ronald Homer, Conway, Homer & Chin-Caplan, P.C., Boston, MA, for Petitioner;
Alexis Babcock, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                             UNPUBLISHED DECISION1

       On May 2, 2016, the parties filed a joint stipulation concerning the petition
for compensation filed by Korey Floyd on August 8, 2013. In his petition,
petitioner alleged that the influenza vaccine, which is contained in the Vaccine
Injury Table (the “Table”), 42 C.F.R. §100.3(a), and which he received on October
18, 2012, caused him to a neurological demyelinating injury. Petitioner further
alleges that he suffered the residual effects of this injury for more than six months.
Petitioner represents that there has been no prior award or settlement of a civil
action for damages on his behalf as a result of his condition.

     Respondent denies that the influenza vaccine caused petitioner to a
demyelinating injury, or any other injury.


       1
         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
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      Nevertheless, the parties agree to the joint stipulation, attached hereto as
Appendix A. The undersigned finds said stipulation reasonable and adopts it as the
decision of the Court in awarding damages, on the terms set forth therein.

      Damages awarded in that stipulation include:

      a. A lump sum payment of $262,744.51 in the form of a check payable
      to petitioner, Korey Floyd. This amount represents compensation for
      first year life care expenses, combined lost earnings and pain and
      suffering, and past unreimbursable expenses.

      b. A lump sum of $121,053.50, in the form of a check jointly payable to
      petitioner, Korey Floyd, and

                   North Carolina Division of Medical Assistance
                             Office of the Controller
                            2022 Mail Service Center
                             Raleigh, NC 27699-2022
                                 Case No: 226982

      which amount represents reimbursement of a lien for services rendered
      on behalf of petitioner.

      c. A lump sum of $147,030.61, in the form of a check jointly payable to
      petitioner, Korey Floyd, and

                     West Virginia DHHR/HMS Tort Recovery
                                    P.O. 11073
                              Charleston, WV 25339
                                 Case No: 133326

      d. An amount sufficient to purchase the annuity contract described in
      paragraph 10 of Appendix A, paid to the life insurance company from
      which the annuity will be purchased.




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       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 13-556V according to this decision
and the attached stipulation.2

        Any questions may be directed to my law clerk, Dan Hoffman, at (202) 357-
6360.

        IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




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          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.

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